Case 3:16-cV-OOO41-I\/|HL Document 51 Filed 12/12/18 Page 1 of 20 Page|D# 441

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

FELIX GILLISON, JR., et al.,

Plaintiffs,
v. Civil Action No. 3:16cv41
LEAD EXPRESS, INC., et al.,

Defendants.

MEMORANDUM OPINION

This matter comes to bar on the briefing submitted pursuant to this Court’s Memorandurn
Opinion and Order regarding whether to permit limited jurisdictional discovery (“Gillison ]”).
(ECF Nos. 42, 43.) Plaintiffs Felix Gillison, Jr.l and Dawn Mays-Johnson (“Plaintiffs”) flled
their Brief Regarding Their Need for Jurisdictional Discovery (the “Discovery Brief"). (ECF
No. 44.) Defendants Lead Express, Inc. (“Lead Express”) and Takehisa Naito (collectively with
Lead Express, “Defendants”) responded, (ECF No. 45), and Plaintiffs replied, (ECF No. 46).

The Court dispenses With oral argument because the materials before it adequately
present the facts and legal contentions, and argument Would not aid the decisional process.

Accordingly, the matter is ripe for disposition The Court exercises jurisdiction pursuant to

 

l On September 27, 2018, counsel for Gillison moved “to substitute Marcella P. Singh, as
Administrator of the Estate of Felix M. Gillison, Jr., as the Plaintiff in this case, in place of Mr.
Gillison, who died in June 2018.” (Mot. Substitute 1, ECF No. 49.) Counsel for Gillison
represent that Defendants consent to the Motion to Substitute. The Court Will grant the Motion
to Substitute. (ECF No. 49.)

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 2 of 20 Page|D# 442

28 U.S.C. § 1331.2 For the reasons that follow, the Court shall not allow jurisdictional

discovery, and will dismiss the Second Amended Complaint without prejudice.

I. Procedural and Factual Background
A. Factual Bacl_rg§ound3

This case arises out of a purported “sham business operation” orchestrated by Lead
Express and its principal and alter ego, Takehisa Naito.4 (Second Am. Compl. jj 2.) Lead
Express obtains millions of consumer reports on consumers With whom it has no relationship
According to Plaintiffs, because Lead Express has no relationship With these consumers, it

obtains reports without a permissible purpose, in Violation of 15 U.S.C. § 1681b(f).5 Plaintiffs

 

2 “The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. The Second Amended
Class Action Complaint (the “Second Amended Complaint”) alleges violations of 15 U.S.C.

§§ 1681b(f) and 1681q of the Fair Credit Reporting Act (the “FCRA”). (ECF No. 25.)

3 Plaintiffs bear the burden of ultimately proving grounds for personal jurisdiction.
Carefirst of Ma’., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 396 (4th Cir. 2003).
When, as here, no evidentiary hearing has occurred (which would require a showing of personal
jurisdiction by a preponderance of the evidence), Plaintiffs need only make a prima facie
showing of personal jurisdiction Id. In evaluating whether a plaintiff has made a prima facie
demonstration of personal jurisdiction, the Court “must construe all relevant pleading allegations
in the light most favorable to the plaintiff, assume credibility, and draw the most favorable
inferences for the existence of jurisdiction.” Brooks v. Motsenbocker Aa’vanced Devs., Inc. , 242
F. App’x 889, 890 (4th Cir. 2007).

In Gillison I, the Court determined that Plaintiffs failed to meet their burden. Now, in
determining Whether the Court will grant leave to conduct jurisdictional discovery, the Court
considers whether Plaintiffs’ Second Amended Complaint contains “specific and substantive”
allegations regarding the Court’s jurisdiction that justify granting jurisdictional discovery, See,
e.g., Mamo v. BP P.L.C., No. 1:050v1323, 2006 WL 572327, at *2 (E.D. Va. Mar. 7, 2006).

4 Plaintiffs contend that Lead Express merely constitutes the alter ego of Naito, “who
used the information obtained from Clarity to find leads for his internet payday lending
companies.” (Second Am. Compl. jj 40.)

5 Section 1681b(f) provides:

(f) Certain use or obtaining of information prohibited

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 3 of 20 Page|D# 443

also assert that Lead Express obtained the consumer reports under false pretenses, by alleging
that it was the “end user” of the reports.6 (Id. jj 16.)

Plaintiffs represent some of the thousands of consumers whose consumer reports Lead
Express obtained from Clarity Service, Inc. (“Clarity”), “a nontraditional consumer-reporting
agency that specializes in assembling subprime consumer data.” (Id. 11 12.) “Unlike traditional
consumer-reporting agencies, most of Clarity’s major customers did not buy its data to determine
if a loan applicant would pay his or her bills.” (Id. 11 13.) Rather, companies like Lead Express
secretly purchase Clarity’s consumer reports for the purpose of targeting vulnerable customers
who might seek high-interest loans. By using Clarity, Def`endants could bypass Experian’s more
stringent credentialing and conceal the role of La Posta Tribal Lending Enterprise (“La Posta
Lending”)7 in offering these loans. Such practices also make it more difficult for consumers to
know who obtained their report.

Plaintiffs allege that Clarity obtained their consumer reports from Experian and sold them

to Lead Express, who would ‘j)urportedly” utilize the information to evaluate consumers for

 

A person shall not use or obtain a consumer report for any purpose unless--

(1) the consumer report is obtained for a purpose for which the consumer
report is authorized to be furnished under this section; and

(2) the purpose is certified in accordance with section 1681e of this title by a
prospective user of the report through a general or specific certification

15 U.s.c. § 1681b(f).

6 Section 1681(b)(a) enumerates a list of six specific circumstances under which a
consumer reporting agency may provide a consumer report. See 15 U.S.C. § 1681(b)(a).

7 Plaintiffs do not explicitly allege La Posta Lending’s role in the scheme. A declaration
submitted by Defendants indicates that La Posta Lending acts as an originator of loans. (See,
e.g., First Chung Decl. 11 16, ECF No. 27-1 (stating in a sworn affidavit that Lead Express
obtains consumer reports to assist La Posta Lending With the origination of loans).) Plaintiffs’
briefing suggests that Plaintiffs concur in this characterization

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 4 of 20 Page|D# 444

loans. (Id. 11 15.) In accordance with this practice, Lead Express executed an “end user”
agreement with Clarity, in which Lead Express represented that it constituted the “end user” of
the consumer reports.8 (]d. jj 16.) Lead Express then obtained consumer reports from Clarity,
including more than 30,000 consumer reports on Virginia consumers during a five-year period.
The purpose of obtaining these reports was to ultimately target Virginia consumers for high-
interest loans, but Lead Express did not solicit consumers for loans or provide loans to the
Virginia consumers directly. Instead, “[i]f the consumer’s data obtained from Clarity satisfied
Lead Express’s loan criteria, an affiliate company, not Lead Express, would solicit the consumer
for a loan.” (Id. 11 26.) Lead Express obtained Gillison’s consumer report on January 17, 2014,
and Mays-Johnson’s report on May 8, 2015 , in order to market high-interest loans to them.

In spite of Lead Express’s certification that it was the “end user” of the consumer reports,
Lead Express never provided a “firm offer of credit” to Plaintiffs, and Plaintiffs never applied for
credit with Lead Express or authorized Lead Express to pull their reports.9 (Id. j[ 23.) Rather,
Lead Express purchased the consumer data “in order to obtain leads on potential consumers who
may be interested in high-interest loans”_data an affiliate company would use to offer loans to
consumers (Id. 1111 25-26.) Accordingly, Plaintiffs contend, Lead Express “lacked a permissible

purpose to obtain Plaintiffs’ consumer reports.” (ld. 1111 23, 27.)

 

8 An “end user” is “the actual creditor who would ultimately use the report to evaluate the
consumer for credit.” (Second Am. Compl. jj 16.)

9 Plaintiffs allege that “upon information and belief, not a single consumer ever applied
for credit with Lead Express and Lead Express never loaned any consumer any amount of
money.” (Second Am. Compl. ‘[I 24 (emphasis added).)

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 5 of 20 Page|D# 445

B. Procedural Bac round

Plaintiffs assert two related class claims against the Defendants: (1) a violation of
15 U.S.C. § 1681b(f) (“Count One”); and, (2) a violation of 15 U.S.C. § 1681q (“Count Two”).'0
Plaintiffs allege that Defendants’ violations entitle each consumer to statutory damages between
$100 and $1,000 under § 1681n(a).ll

After Plaintiffs filed their Second Amended Complaint, Defendants moved to dismiss it
under three separate theories: (1) lack of subject-matter jurisdiction because the Plaintiffs did
not have standing to bring this lawsuit;12 (2) lack of personal jurisdiction; and, (3) improper
venue. (See Mot. Dismiss, ECF No. 26). Altematively, Defendants requested that the Court
transfer the case to the United States District Court f`or the Central District of California as the
proper venue.13

Before briefing on the Motion to Dismiss concluded, Plaintiffs filed the Motion for

Permission to 'I`ake Jurisdiction-Related Discovery (the “Motion for Discovery”). (ECF No. 31.)

 

'° Plaintiffs mistakenly allege that they assert Count Two under “15 U.S.C. § 1681q(a).”
Section 1681q`, however, does not contain a subsection (a). Section 1681q, which the Court
presumes to be at play here, provides: “Any person Who knowingly and willfully obtains
information on a consumer from a consumer reporting agency under false pretenses shall be
fined under Title 18, imprisoned for not more than 2 years, or both.” 15 U.S.C. § 1681q.

ll Section 1681n(a) provides that “[a]ny person who willfully fails to comply with” the
FCRA “is liable to that consumer” for “any actual damages sustained by the consumer as a result
of the failure or damages of not less than $100 and not more than $1,000” and “such amount of
punitive damages as the court may allow.” 15 U.S.C. § l68ln(a).

12 In ruling on the Motion to Dismiss, the Court determined that Plaintiffs sufficiently
alleged an injury in fact under Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). Because the Court
will dismiss the Complaint for lack of personal jurisdiction, the Court declines to reexamine its
analysis in light of the United States Court of Appeals for the Fourth Circuit’s most recent
evaluation of standing in Dreher v. Experian Injbrmation Solutions, Inc. , 856 F.3d 337 (4th Cir.
2017).

'3 Because Plaintiffs failed to establish personal jurisdiction, Gillison I did not address
venue.

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 6 of 20 Page|D# 446

Plaintiffs requested that the Court permit the parties to conduct discovery for 90 days if the Court
found that Plaintiffs had not established personal jurisdiction

In Gillison I, the Court found that Plaintiffs’ Second Amended Complaint “fail[s] to
make a prima facie showing of specific personal jurisdiction.” (Gillison I 19.)14 The Court
denied Plaintiffs’ Motion for Discovery because the requested discovery bore “little relevance to

the allegations of` specific jurisdiction pleaded.”15 (Id. 29.) On the other hand, the Court

 

14 ln Gillison I, the Court identified two theories of personal jurisdiction and found both
deficient First, the Court found unpersuasive Plaintiffs’ contention that “Defendants’ business
contacts rise to the level of purposefill availment.” (Gillison 120.) Plaintiffs’ argument relied on
its claim that Lead Express obtained over 30,000 consumer reports from Clarity about Virginia
consumers. The Court found that “[o]btaining information on Virginia consumers from a third-
party without any direct interaction with those Virginia consumers does not establish purposeful
availment.” (Gillison 1 21 (citing Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S.
408, 417 (1984)).) Plaintiffs argued that Lead Express may have solicited Virginia consumers
for loans, but the Court rejected these attempts to establish minimum contacts as speculative and
at odds with Plaintiffs’ allegations in the Second Amended Complaint that Lead Express did not
have any contacts or relationship with the Virginia consumers about whom it obtained consumer
reports.

Next, the Court discussed Plaintiffs’ theory under the “effects” test, “which gives the
Court personal jurisdiction over a defendant if he or she intentionally directed activity in the
forum state that caused harm to the plaintiff.” (Gillison 125.) But the Court concluded that the
“effects” test, articulated in Calder v. Jones, 465 U.S. 783, 791 (1984), does not eliminate the
requirement that the defendant have taken affirmative action to avail itself of the privilege of
doing business in the forum state. Because the Second Amended Complaint alleges “injury in
Virginia caused by [Defendants’] activities in a foreign state,” and not in Virginia, the Court
concluded the Second Amended Complaint did not establish personal jurisdiction over
Defendants in Virginia. (Gillison 126.)

15 To establish specific personal jurisdiction, a plaintiff must show not only that
Defendants had meaningful contacts in Virginia, but also that those contacts form the basis of the
suit. See ALS Scan, Inc. v. Digital Serv. Consultants, Inc., 293 F.3d 707, 712 (4th Cir. 2002). A
Court may deny jurisdictional discovery “[w]hen a plaintiff offers only speculation or conclusory
assertions about contacts with a forum state,” Carejirst, 334 F.3d at 402.

In Gillison I, the Court found that some of the information sought in the Motion for
Discovery might establish that Defendants had contacts in Virginia, but would not establish that
those contacts form the basis of this suit. For example, information about “Defendants’ Virginia
profits or [Defendants’] marketing in Virginia,” does not relate to Plaintiffs’ claim that
Defendants improperly obtained Plaintiffs’ credit consumer reports from Clarity, (Gillz'son I 31 .)

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 7 of 20 Page|D# 447

considered with trepidation “Defendants’ patently inconsistent declarations” regarding their
business, finding that the inconsistencies did not give Plaintiffs a fair opportunity to make their
case regarding specific personal jurisdiction.16 (Gillison I 31.)

In the interest of justice, and to clarify the record, the Court ordered parties to brief the

need for jurisdictional discovery in light of Gillison I.

II. Agplicable Legal Standards

A. Legal Standard to Permit Jurisdictional Discover_'y

Discovery under the F ederal Rules of Civil Procedure is generous in scope and freely
permitted, and district courts “have broad discretion in [their] resolution of discovery problems
that arise in cases pending before [them].” Mylan Labs., Inc. v. Akzo, N. Vi, 2 F.3d 56, 64
(4th Cir. 1993) (alterations in original) (quoting In re Multz`-Piece Rim Prods. Liab. Litig. , 653
F.2d 671, 679 (D.C. Cir. 1981)). A district court does not abuse its discretion by denying
jurisdictional discovery “[w]hen a plaintiff offers only speculation or conclusory assertions[.]”
Carejirst, 334 F.3d at 402; see also Base Metal Trading, Ltd v. OJSC “Novokuznetsky Aluminum
Factory, ” 283 F.3d 208, 216 n.3 (4th Cir. 2002) (finding the district court did not abuse its

discretion in denying jurisdictional discovery where “the plaintiff simply want[ed] to conduct a

 

Additionally, the Court concluded Plaintiffs’ assertion that Defendants impermissibly
obtained over 30,000 consumer reports about Virginia residents did not suffice to support
Plaintiffs’ claim that Defendants reached into Virginia or offered loans to Plaintiffs.

16 In Gillison I, the Court discussed the declarations filed in this case and an inconsistent
declaration submitted by the same person in a different case. See Decl. ofNaito for Lead
Express, Inc., Turnage v. Clarity Services, ]nc., 3:15cv760, ECF No. 30-1. The Court addressed
these inconsistencies at length in Gillison I. “The conflicting descriptions, under oath, before the
same court raise questions regarding the Defendants’ full candor about the business Lead
Express conducts.” (Gillison 131.)

The Court ordered Defendants to address the inconsistencies because “conf`licting
descriptions of how Lead Express and Naito conduct business hinders the Plaintiffs’ ability to
fairly state their case.” (Id.) The Court did not rely on the declarations for the purpose of
denying the Motion for Discovery in Gillison I.

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 8 of 20 Page|D# 448

fishing expedition in the hopes of discovering some basis of jurisdiction”); Reynolds & Reynolds
Holdings, Inc. v. Data Supplies, Inc., 301 F. Supp. 2d 545, 554 (E.D. Va. 2004) (“The court does
not abuse its discretion to deny jurisdictional discovery when the plaintiff raises only 1bare
allegations’ to dispute defendant’s affidavits denying jurisdictional acts or contacts.”).

Jurisdictional discovery can be appropriate when a plaintiff files a motion containing
“specific and substantive” allegations regarding a court’s jurisdiction, see, e.g., Mamo, 2006 WL
5723 27 at *2, or when “‘significant gaps in the record’ exist[]” regarding the court’s jurisdiction
over the defendant Weinstein v. Todd Marine Enters., 115 F. Supp. 2d 668, 676 (E.D. Va. 2000)
(quoting Coastal Video Commc ’ns Corp. v. The Staywell Corp., 59 F. Supp. 2d 562, 571 (E.D.
Va. 1999)).

B. Personal Juris_dictiog: Burden of Proof17

When a district court considers a challenge to personal jurisdiction without conducting an
evidentiary hearing, the plaintiff need only make a prima facie showing of personal jurisdiction,
rather than show jurisdiction by a preponderance of the evidence. Carefirst, 334 F.3d at 396; see
also Combs v. Bakker, 886 F.2d 673, 676 (4th Cir. 1989); Machulsky v. Hall, 210 F. Supp. 2d
531, 537 (D.N.J. 2002) (“[A]t no point may a plaintiff rely on the bare pleadings alone in order
to withstand a defendant’s Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction.”
(quoting Patterson v. Fed. Bureau of Investigation, 893 F.2d 595, 603-04 (3d Cir. 1990)).).

“The [c]ourt, in deciding whether a plaintiff has met th[e] burden [of making a prima
facie case supporting personal jurisdiction], must construe all relevant pleading allegations in the

light most favorable to the plaintiff, assume credibility, and draw the most favorable inferences

 

17 Although the Court has already established that the Second Amended Complaint fails
to make a prima facie showing of personal jurisdiction over Defendants, see generally Gillison I,
the Court considers the requirements of personal jurisdiction to analyze Whether granting leave
to conduct jurisdictional discovery might result in Plaintiffs meeting their burden.

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 9 of 20 Page|D# 449

for the existence of jurisdiction.” Brooks, 242 F. App’x at 890. Still, a plaintiff cannot rely on
“bare pleadings alone” after a defendant properly challenges personal jurisdiction Machulsky,
210 F. Supp. 2d at 537 (quotation omitted). Instead, “the plaintiff must sustain its burden of
proof in establishing jurisdictional facts through sworn affidavits and competent evidence . . . .
[A] plaintiff must respond with actual prooiI], not mere allegations.” Ia’. (quotation omitted).

C. Personal Jurisdiction: Legal Standard

Federal courts exercise personal jurisdiction in the manner provided by state law. New
Wellington Fin. Corp. v. Flagship Resort Dev. Corp., 416 F.3d 290, 294 (4th Cir. 2005).
Therefore, a district court must first decide whether Virginia state law permits the court to
exercise personal jurisdiction over the defendant, and second, whether the exercise of such
jurisdiction comports with the due process requirements of the Fourteenth Amendment. Id.;
Christian Sci. Bd. of Dirs. of the First Church of Christ, Scientist v. Nolan, 259 F.3d 209, 215
(4th Cir. 2001); ESAB Group, Inc. v. Centricut, Inc., 126 F.3d 617, 622 (4th Cir. 1997).

“Because Virginia’s long-arm statute extends personal jurisdiction to the extent permitted
by the Due Process Clause, ‘the statutory inquiry necessarily merges with the constitutional

133

inquiry, and the two inquiries essentially become one. Young v. New Haven Advocate, 315
F.3d 256, 261 (4th Cir. 2002) (quoting Stover v. 0 ’Connell Assocs., Inc., 84 F.3d 132, 135-36
(4th Cir. 1996)) (internal citation omitted). Accordingly, the inquiry becomes whether the
defendants maintain sufficient minimum contacts with the forum state so as not to offend
“traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S.
310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)).

“The standard for determining the existence of personal jurisdiction over a nonresident

defendant varies, depending on whether the defendant’s contacts with the forum state also

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 10 of 20 Page|D# 450

provide the basis for the suit.” Carejirst, 334 F.3d at 397. If a defendant’s contacts with the
state also constitute “the basis for the suit, those contacts may establish specific jurisdiction . . .
[I]f the defendant’s contacts with the State are not also the basis for suit, then jurisdiction over
the defendant must arise from the defendant’s general, more persistent, but unrelated contacts
with the State.”18 ALS Scan, Inc. v. Digital Serv. Consultants, Inc., 293 F.3d 707, 712 (4th Cir.
2002) (citing Helicopteros, 466 U .S. at 414 & nn.8-9).

The Fourth Circuit has adopted a three-part test to determine whether specific jurisdiction
exists. Reynolds Foil, 2010 WL 1225620, at *2. Specifically, the Court must consider: “(1) the
extent to which the defendant purposefully avail [ed] itself of the privilege of conducting

activities in the State;1191 (2) whether the plaintiffs’ claims arise out of those activities directed at

 

18 General jurisdiction exists only when a defendant’s “affiliations with the [s]tate are so
‘continuous and systematic’ as to render [it] essentially at home in the forum [s]tate.”’ Daz'mler
AG v. Bauman, 134 S. Ct. 746, 760 (2014) (quoting Gooa'year Dunlop Tires Operations, S.A. v.
Brown, 564 U.S. 915, 919 (2011)) (emphasis added). For company-defendants, “only a limited
set of affiliations with a forum” will typically satisfy this standard, such as the defendant’s place
of incorporation or principal place of business. Id.

Over time, “speciflc jurisdiction has become the centerpiece of modern jurisdiction
theory, while general jurisdiction [has played] a reduced role.” Id. at 755 (quoting Goodyear,
564 U.S. at 925 (brackets in original)). Specifically, the Supreme Court of the United States has
indicated that “[a]s this Court has increasingly trained on the relationship among the defendant,
the forum, and the litigation, i.e. , specific jurisdiction, general jurisdiction has come to occupy a
less dominant place in the contemporary scheme.” Id. at 758 (intemal quotation and citation
omitted).

Appropriately, the Plaintiffs do not seek to establish general personal jurisdiction, and the
Court need not address general personal jurisdiction further.

19 With respect to the first factor, “no clear formula [exists] for determining what
constitutes ‘purposeful availment.’” Reynolds Foil, 2010 WL 1225620, at *2. The Court,
however, may consider whether the defendant maintains offices or agents in the forum state;
whether the defendant owns property in the forum state; whether the defendant reached into the
forum state to solicit or initiate business; whether the defendant deliberately engaged in
significant or long-term business activities in the forum state; whether the parties contractually
agreed that the law of the forum state would govern disputes; whether the defendant made in-
person contact with the resident of the forum in the forum state regarding the business
relationship; the nature, quality, and extent of the parties’ communications about the business

10

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 11 of 20 Page|D# 451

the State;[z°] and[,] (3) whether the exercise of personal jurisdiction would be constitutionally
reasonable.”21 ALS Scan, 293 F.3d at 712 (alteration in original) (intemal citations omitted). “If,
and only if . . . the plaintiff has satisfied this first prong of the test for specific jurisdiction need
[the Court] move onto a consideration of prongs two and three.” Consulting Eng’rs, 561 F.3d

at 278.

 

transactions; and, whether the performance of contractual duties was to occur within the forum.
See Consulting Eng’rs Corp. v. Geometric Ltd., 561 F.3d 273, 278 (4th Cir. 2009).

Further, the Supreme Court long has held that the purposeful availment prong of the
personal jurisdiction analysis can be met if a defendant’s “intentional conduct [in the foreign
state was] calculated to cause injury to [the plaintiff] in [the forum state].” Calder, 465 U.S. at
791 (“Jurisdiction over petitioners is therefore proper in California based on the ‘effects’ of their
Florida conduct in California.”). Calder, however, does not vest jurisdiction in a state merely
because it serves as the locus of the plaintiff"s injury. See Walden v. Fiore, 134 S. Ct. 1115,
1125 (2014) (“[M]ere injury to a forum resident is not a sufficient connection to the forum.”).

The “proper question is not Where the plaintiff experienced a particular injury or effect
but whether the defendant’s conduct connects him to the forum in a meaningful way.” Id.
(emphasis added); see also ESAB, 126 F.3d at 626 (“Although the place that the plaintiff feels
the alleged injury is plainly relevant to the inquiry, it must ultimately be accompanied by the
defendant’s own contacts with the state if jurisdiction over the defendant is to be upheld.”).

20 “The second prong of the test for specific jurisdiction . . . requires that the defendant’s
contacts with the forum state form the basis of the suit.” Consulting Eng’rs, 561 F.3d at 278-79
(citing Burger King v. Rudzewicz, 471 U.S. 462, 472 (1985); Helicopteros, 466 U.S. at 414).

21 The third prong of the specific jurisdiction test “perrnits a court to consider additional
factors to ensure the appropriateness of the forum once it has determined that a defendant has
purposefully availed itself of the privilege of doing business there.” Consulting Eng’rs., 561
F.3d at 279. Specifically, the court may consider: (1) the burden on the defendant of litigating
in the forum; (2) the interest of the forum state in adjudicating the dispute; (3) the plaintiffs
interest in obtaining convenient and effective relief; (4) the shared interest of the states in
obtaining efficient resolution of disputes; and, (5) the interests of the states in firrthering
substantive social policies. ld. (citing Burger King, 471 U.S. at 477). The Court need not
address this prong because Plaintiffs cannot show that Defendants’ contacts with the forum state
form the basis of this suit and the requested discovery would not cure this deficiency.

11

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 12 of 20 Page|D# 452

III. Analysis

A. The Reguisite Showing for Plaintiffs’ Claims to Survive

Plaintiffs bear the ultimate burden to show that the Court has specific personal
jurisdiction over Defendants by a preponderance of the evidence. See Carefz`rst, 334 F.3d at 396.
To meet their burden, Plaintiffs must show that Defendants (l) “purposefully avail[ed]
[themselves] of the privilege of conducting activities in [Virginia] . . . [(2) that] [P]laintiffs’
claims arise out of those activities directed at the State . . . and . . . [(3) that] the exercise of
personal jurisdiction would be constitutionally reasonable.” ALS Scan, 293 F.3d at 712 (internal
citations omitted).

Count One alleges that Defendants improperly obtained Plaintiffs’ “consumer reports
from Clarity without a permissible purpose,” in violation of 15 U.S.C. § 1681b(f). (Second Am.
Compl. 11 50.) For Count One to survive, Plaintiffs must show both that Defendants have
meaningful contacts to Virginia, and that those contacts relate to the allegedly improper
acquisition of the reports from Clarity. See Walden, 134 S. Ct. at 1125.

Count Two claims that Defendants knowingly misrepresented themselves to Clarity as
the end user of the reports it obtained from Clarity, in violation of 15 U.S.C. § 1681q. For Count
Two to survive, Plaintiffs must show both that Defendants have meaningful contacts to Virginia,
and that those contacts relate to the allegedly improper misrepresentation to Clarity. See Walden,
134 S. Ct. at 1125.

For the reasons below, the Court finds that granting leave to take limited jurisdictional
discovery would not cure the deficiencies in the Second Amended Complaint. The Court will

therefore dismiss the case without prej udice.

12

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 13 of 20 Page|D# 453

B. The Court Will Not Permit Discovery Because Plaintiffs Fail to Articulate
Specific andSubstantive Allegations Warranting a Jurisdictional Ingui[y

The Discovery Brief proposes discovery covering six areas: (1) all documents and data
Defendants possess about Plaintiffs; (2) “all contracts with any consumer reporting agencies or
other entity regarding the obtaining of credit information and selling of credit information or
leads for the named Plaintiffs;” (3) “documents in which Defendants claim a loan was offered to
named Plaintiffs or Virginia consumers, or named Plaintiffs, or Virginia consumers were
considered for a loan;” (4) all communications with non-parties related to the Defendants’
declarations; (5) depositions of Naito and Chan Joo Chung;22 and (6) “all documents analyzing
the market for high interest loans in Virginia, and any studies completed regarding Virginia
consumers, including the named Plaintiffs.” (Disc. Br. 1-5, ECF No. 44 (some capitalization
altered from original).) The Court addresses each area in turn.

1. The Court Will Not Permit Discovery Related to Documents
Defendants Possess About Plaintiffs Because Plaintiffs Offer Only

Speculation and Conclusor_'y Assertions As Justification

The Court cannot justify granting discovery for Plaintiffs’ broad request for all
documents and data that Defendants may possess about Plaintiffs, In support of this request,
Plaintiffs describe “suspicions that Defendants” knowingly targeted Virginia consumers when
they purchased the batch reports from Clarity. (Disc. Br. 2.) The Second Amended Complaint
alleges that Lead Express “secretly purchase[d] consumer reports in batches in order to target
vulnerable consumers, including consumers residing in Virginia, who may be interested in high-

interest intemet loans.” (Second Am. Compl. 11 12.) According to Plaintiffs, Lead Express has

 

22 Chan Joo Chung is the general manager of Naito Corporation.

13

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 14 of 20 Page|D# 454

obtained millions of consumer reports in this manner, including over 30,000 consumer reports
from Virginians.23

Plaintiffs contend that the requested information would ultimately establish specific
personal jurisdiction over Defendants because the information “will support Plaintiffs’ suspicion
that Defendants purposefully and knowingly reached into Virginia seeking to solicit consumers
here and did, in fact, solicit some consumers in Virginia pursuant to their scheme.” (Disc. Br. 2.)
This information Plaintiffs, contend, “will also likely reveal Defendants’ sources of information
which Plaintiffs believe will include databases or courthouses in Virginia.” (Id.) The argument
cannot prevail.

Plaintiffs must ultimately establish specific personal jurisdiction based on Defendants’
alleged contacts in Virginia that give rise to the causes of action in this suit. In Gillison I, the
Court found that Plaintiffs’ claim that Defendants impermissibly obtained 30,000 reports on
Virginians_rather than from Virginians”-_was not sufficiently “specific and substantive” to
support Plaintiffs’ claims that Defendants reached into Virginia or offered loans to Plaintiffs,

See Mamo, 2006 WL 572327, at *2.

Plaintiffs attempt to cure this deficiency by arguing in their Discovery Brief that
Defendants obtained information about Plaintiffs from databases or courthouses located in
Virginia. But in their Second Amended Complaint, Plaintiffs allege that Defendants obtained the

consumer reports from Clarity, a Nevada corporation25 Plaintiffs’ suggestion in their Discovery

 

23 The named plaintiffs’ consumer reports are among the 30,000 reports allegedly
obtained from Virginians.

24 Gillison 1 described this distinction as “critical,” (Gillison 121), and it remains so.

25 Whether Clarity obtained the information from Virginia courthouses has no bearing on
whether the Court can exercise jurisdiction over Defendants. See Helicopteros, 466 U.S. at 417

14

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 15 of 20 Page|D# 455

Brief that Defendants may have obtained the information from Virginia sources, as opposed to
obtaining the information from Clarity, contradicts the assertions in the Second Amended
Complaint. The Court cannot Weigh this contradictory statement in Plaintiffs’ favor when
deciding whether to grant jurisdictional discovery.

Even were the Court to consider this requested information relevant to the jurisdictional
inquiry, Plaintiffs’ “suspicions,” (Disc. Br. 2), constitute only “speculation” and “conclusory
assertions,” Carejz`rst, 334 F.3d at 402. These suspicions do not rise to the level of “specific and
substantive allegations” regarding the Court’s jurisdiction that would justify jurisdictional
discovery. Mamo, 2006 WL 572327, at *2. The Court declines to allow discovery based on
these speculative claims about this attenuated nexus.

2. The Court Will Not Permit Discovery Related to Contracts
About Obtaining or Selling Plaintiffs’ Credit Information
Because the Reg uest Lacks Specificitv

In their second request, Plaintiffs seek contracts related to obtaining or selling Plaintiffs’
credit infonnation. Plaintiffs argue this information would show that Defendants “specifically
sought information on Virginia consumers” and would justify the exertion of specific personal
jurisdiction over Defendants. (Disc. Br. 3.) Plaintiffs allege this would be especially true
“should this information show that Defendants’ agreements expressly demanded that entities
with whom it dealt provide information on consumers located in Virginia.” (Id.)

But Plaintiffs do not assert substantive factual allegations about whether such information
exists. Absent any evidence to support this request for discovery, the request constitutes

speculation See Carejz`rst, 334 F.3d at 402. Plaintiffs offer no basis on which the Court could

 

(“[T]he unilateral activity of another party or a third person is not an appropriate consideration
when determining whether a defendant has sufficient contacts with a forum State to justify an
assertion of jurisdiction.”).

15

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 16 of 20 Page|D# 456

substantiate their contention that Defendants specifically sought information on Virginia
consumers Further, the assertion appears at odds with their Second Amended Complaint.
Although Plaintiffs allege that Defendants obtained “more than 30,000 consumer reports from
Clarity on Virginia consumers” during a five year period, (Second Am. Compl. 11 19), this
represents only a portion of the “millions” of consumer reports that Defendants allegedly
obtained, (id. 11 2).

Even putting the inconsistencies aside, the Court concludes that, although information
showing that Defendants specifically demanded information on Virginia consumers may support
Plaintiffs’ arguments that Defendants targeted Virginia consumers specifically, these claims lack
the specificity or substantiation to grant jurisdictional discovery here. See Mamo, 2006 WL
572327, at *2; see also Base Metal Trading, 283 F.3d at 216 n.3.

3. The Court Will Not Permit Discovery About Documents

Related to Loan Offerings to Virginia Consumers Because
the Requested Documents Could Not Support a Finding of

S}:_recific Personal Jurisdiction in this Suit

Nothing in the Second Amended Complaint supports granting jurisdictional discovery
related to documents in which Defendants offered or considered offering loans to Plaintiffs
because such documents do not sufficiently relate to the causes of action in the Second Amended
Complaint. The allegations in the Second Amended Complaint aver that Defendants
impermissibly obtained consumer information about Defendants because Lead Express was not
the end user of the reports. Plaintiffs allege that Defendants never provided a “firm offer of
credi ” to Plaintiffs, and that Lead Express obtained “millions of consumer reports on consumers
with whom it has no relationship.” (Second Am. Compl. 1]1[ 2, 23.)

To the extent the requested documents may 'show that Defendants have some contacts

with Virginia, they could not show that those contacts form the basis of this suit because the

16

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 17 of 20 Page|D# 457

requested documents would not sufficiently relate to the causes of action here: improperly
obtaining consumer reports from Clarity as to the named plaintiffs, and misrepresenting
themselves as the end user to Clarity as part of that acquisition See ALS Scan, 293 F.3d at 712.
The Court also concludes that any discovery as to unknown class members is too attenuated to
allow.

4. The Court Will Not Permit Discovery As to Communications with
Non-Parties Related to the Declarations Because this Discovery

Could Not Undergird Sgecific Personal Jurisdiction in this Suit

The Court previously noted “startling inconsistencies” in declarations submitted by both
Naito and Chung in this case, when compared with a declaration Naito submitted in another case
related to Lead Express’s business practices.26 Specifically, the Court noted in Gillison I that
“[t]he conflicting descriptions, under oath, before the same court raise questions regarding the
Defendants’ full candor about the business Lead Express conducts. The Court carmot see a
rational way to reconcile the two sets of affidavits in this case and the affidavit in Tarnage.”
(Gillison I 31.)

Plaintiffs seek information about “the process that went into creating the declarations,
including any edits or suggestions for changes made by Defendants or Mr. Chung.” (Disc.
Br. 4.) This information, Plaintiffs state, Will show “whether Defendants took affirmative steps
to conceal information that would tie their business activities to Virginia.” (Disc. Br. 5.)

In response to the Court’s instructions in Gillison I, Defendants submitted revised
declarations, (ECF Nos. 45-1, 45-2), and attempt to explain the inconsistencies, (Resp. 5, ECF
No. 45). Counsel for Defendants states that “[a]fter investigating the matter, including speaking

with Messers. Naito and Chung, their prior declarations should have been more specific and

 

26 See Decl. of Naito for Lead Express, Inc., filed in Turnage v. Clarity Services, Inc.,
3:150v760, ECF No. 30-1. The Court discussed these inconsistencies at length in Gillison I.

17

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 18 of 20 Page|D# 458

provided more explanation, which would have avoided the issues raised by the Court and any
confirsion.” (Id. 5-6.) The Response does not elaborate on how further specificity or
explanation in Turnage would have avoided the present problems.

The Response also states, “Undersigned [C]ounsel did not know of the existence of Mr.
Naito’s Declaration submitted in Turnage until Plaintiffs cited it in their briefing.” (Id. 5.) In
Reply, Plaintiffs describe this statement as “utterly stunning, as the ‘Undersigned Counsel’
referred to here was also Counsel for Clarity in Turnage.” (Reply 5, ECF No. 46.) Plaintiffs
attach a Notice of Appearance from Turnage indicating that “Undersigned Counsel” for
Defendants represented Clarity in Turnage. (ECF No. 46-1.)

The Court remains deeply troubled by the declarations submitted by Naito and Chung.
As in Gillison I. The Court does not rely on these declarations to reach its finding here. Despite
the serious issues with Defendants’ declarations, the Court cannot conclude that discovery about
their creation would ultimately cure the underlying deficiencies in the Second Amended
Complaint, because nothing in the record suggests that discovery about the creation of the
declarations would establish specific personal jurisdiction over Defendants. Of course, the Court
cautions any party or attorney who submits declarations under oath in this Court to do so with an
eye toward the consequences of doing so incorrectly, or even inartfully.

5. The Court Will Not Permit Depositions of Naito and Chung
Because Plaintiffs’ Justifications Cor_rstitute Conclusorv A_ssertiorg

Similarly, the Court cannot find that deposing Naito and Chung would establish specific
personal jurisdiction Although Plaintiffs raise notable concerns regarding the reliability of
Naito and Chung’s declarations, Plaintiffs nevertheless fail to make “specific and substantive
allegations” regarding the Court’s jurisdiction based on the declarations themselves See Mamo,

2006 WL 572327, at *2.

18

Case 3:16-cV-00041-I\/|HL Document 51 Filed 12/12/18 Page 19 of 20 Page|D# 459

Plaintiffs contend that discovery about the creation of the declarations would show
“whether Defendants took affirmative steps to conceal information that would tie their business
activities to Virginia.” (Disc. Br. 5.) But Plaintiffs do not directly allege that Defendants have
concealed information that would tie their business activities to Virginia in a way that would
give rise to specific personal jurisdiction On the record before it, the Court concludes that
arguments suggesting that deposing Naito and Chung would result, ultimately, in establishing
specific personal jurisdiction over Defendants amount to speculation The Court declines to
order depositions of Naito or Chung.

6. The Court Will Not Permit Discovery As to Studies and

Analyses Related to High-Interest Loans in Virginia
Because this Discovery Could Not Support a Finding of

Specific Personal Jurisdiction in this Suit

Finally, the Discovery Brief requests “all documents analyzing the market for high
interest loans in Virginia, and any studies completed regarding Virginia consumers, including the
named Plaintiffs.” (Disc. Br. 5.) Plaintiffs contend this information will “give insight as to the
true focus of [Defendants’] business aims and dealings as to Virginia consumers.” (Id.)
Plaintiffs posit that this information will “confirm[] Plaintiffs’ allegations that Defendants
obtained thousands of records about Virginia consumers with the express intent of marketing
high-interest loans to those Virginia residents.” (Id.)

No evidence-indeed, no allegation-exists in the Second Amended Complaint
suggesting that Defendants marketed or offered loans to Virginia residents. Instead, the Second
Amended Complaint alleges that Lead Express compiled the information for an affiliate
company to target Virginia consumers for a loan. The Court cannot alter its finding in Gillison I
that nothing in the record exists to allow the Court to impute the actions of these unrelated or

affiliate entities to Defendants in this case.

19

Case 3:16-cv-00041-|\/|HL Document 51 Filed 12/12/18 Page 20 of 20 Page|D# 460

Studies and other information that Defendants may have acquired or developed regarding
the market for high interest loans in Virginia, then have no bearing on the jurisdictional
questions before the Court: whether Defendants’ actions or activities in Virginia or related to
Virginia tie Defendants to Virginia in a meaningful way; and whether those actions or activities
relate directly to Defendants’ alleged improper acquisition of Plaintiffs’ consumer reports. Even
were the Court to consider this information relevant, Plaintiffs offer no evidence that these
studies exist. The Court cannot allow jurisdictional discovery when such speculative and
attenuated allegations do not establish a basis for it to do so.

Because the requested discovery cannot cure the jurisdictional deficiencies in the Second
Amended Complaint, the Court shall dismiss the case Without prejudice

IV. Conclusion

For the foregoing reasons, the Court finds jurisdictional discovery unwarranted and will

dismiss the Second Amended Complaint without prejudice

An appropriate Order shall issue.

      
   

M k

' United`State District Judge
Date: lO///Z///g

Richmond, Virginia

20

